Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 1 of 14



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA



  MICHAEL BECKER, Individually,                        CASE NO.:

  and

  CORINNE MEI, Individually,

                         Plaintiffs,

  v.

  UNITED STATES DEPARTMENT OF JUSTICE,
  DRUG ENFORCEMENT ADMINISTRATION;
  CHARLOTTE WROBLEWSKI, Individually;
  JASON WROBLEWSKI, Individually and in his
  capacity as an Agent for the United States Department
  of Justice Drug Enforcement Administration; and
  JOHN WROBLEWSKI, Individually and in his capacity as an
  Agent for the United States Department of Justice Drug
  Enforcement Administration,

                    Defendants.
  __________________________________________________/

                                           COMPLAINT

  Plaintiffs, MICHAEL BECKER and CORINNE MEI, by and through undersigned counsel,

  hereby states and alleges as follows:

                                          INTRODUCTION

         1. This cause of action involves the invasion of privacy and illegal searches of Plaintiffs

            by various members of the United States Department of Justice, Drug Enforcement

            Administration, who accessed their information on file with the State of Florida and

            protected by the Driver’s Privacy Protection Act (DPPA) in violation of 18 U.S.C. §

            2721 et seq.§
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 2 of 14



        2. In addition, this cause of action involves certain defamatory statements made by

            Defendant Charlotte Wroblewski as well as Jason Wroblewski and John Wroblewski,

            Individually, in a certain complaint filed with the Broward County Environmental

            Licensing and Building Permitting Division concerning Michael Becker d/b/a

            Broward Parking Solutions.

                            NATURE OF PLAINTIFFS’ CLAIMS

        3. This is an action for injunctive relief and monetary damages under 42 U.S.C. § § 1983

          and 1988, the Driver’s Privacy Protection Act of 1994, 18 U.S.C. § § 2721 et seq.

          (“DPPA”), the Fourth Amendment, the Fourteenth Amendment, and other protections

          afforded by the United States Bill of Rights and the laws of the State of Florida to

          recover damages for the Defendants’ disregard and invasion of Plaintiffs’

          constitutionally protected right to privacy.

        4. This is also an action for defamation for the filing of a false and defamatory complaint

          with Broward County concerning Michael Becker d/b/a Broward Parking Solutions as

          licensee.

                                    JURISDICTION AND VENUE

        5. This Court has jurisdiction over Plaintiffs’ claims pursuant to 42 U.S.C. § § 1983 and

          1988, the Driver’s Privacy Protection Act 18 U.S.C. § 2721 et seq., 28 U.S.C. § § 1331

          and 1343(a)(3). This Court has supplemental jurisdiction over the Plaintiffs’ state law

          claims pursuant to 28 U.S.C. § 1367.

        6. The amount in controversy exceeds $75,000.00, including interests and costs.




                                           Page 2 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 3 of 14



        7. All conditions precedent to the maintenance of this action have been performed or

          have occurred prior to this institution, and the appropriate notice given to the United

          States Department of Justice.

                                              THE PARTIES

        8. Plaintiff Michael Becker, at all relevant times, is a resident of the State of Florida and

          citizen of the United States of America and a business licensee in Broward County,

          Florida.

        9. Plaintiff Corinne Mei, at all relevant times, is a resident of the State of Florida and

           citizen of the United States of America.

       10. Defendant United States Department of Justice, Drug Enforcement Administration, is

           a federal agency of the United States of America maintaining offices and activities in

          the State of Florida.

      11. Defendant Charlotte Wroblewski, at all relevant times, is a resident of the State of

          Florida.

      12. Defendant Jason Wroblewski, at all relevant times, is a resident of the State of Florida

          and employed as an Agent of the United States Department of Justice, Drug

          Enforcement Administration.

      13. Defendant John Wroblewski, at all relevant times, is a resident of the State of Florida

          and employed as an Agent of the United States Department of Justice, Drug

          Enforcement Administration.

                                      FACTUAL ALLEGATIONS

      14. Michael Becker is an individual resident of Broward County, Florida doing business as

          Broward Parking Solutions. As such, Michael Becker is licensed by Broward County,



                                            Page 3 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 4 of 14



          Florida to conduct business as a vehicle immobilization service for individuals and

          businesses in Broward County.

      15. On or about July 4, 2016, Plaintiff Michael Becker was performing services for the

          Ever April Apartments at 8 Briny Avenue, Pompano Beach, Florida with regard to

          ongoing parking problems by individuals who would park their cars on private

          property for the purpose of utilizing the public beach.

      16. On or about the above date, Corinne Mei was associated with Broward Parking

          Solutions and acting as Agent of Ever April Apartments, during which time there was

          construction in the parking lot and the parking problems were more severe.

      17. On the above date and time, both Michael Becker and Corinne Mei were in the parking

          lot of the Ever April Apartments attempting to control illegal parking, when the Vice-

          President of the Ever April Apartments, Gloria Jakab, called Corinne Mei and advised

          her of a blue Toyota Corolla that had parked in a parking space, and specifically

          directed that it be immobilized due to the fact that it was illegally parked.

      18. The parking lot in question was legally posted with no parking signs warning any

          individual who would illegally park in the parking lot that their vehicle was subject to

          being immobilized as a result of being illegally parked.

      19. The blue Toyota Corolla was parked in front of one such sign; and Gloria Jakab

          watched the driver of the vehicle walk off towards the beach.

      20. Corinne Mei advised Michael Becker of the vehicle being illegally parked; and

          Michael Becker placed a vehicle immobilization device on the right front wheel of the

          vehicle.




                                           Page 4 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 5 of 14



      21. Within minutes of booting the right front of the vehicle, Michael Becker was

          approached by Jason Wroblewski, who identified himself as “with DEA” and the fact

          that he was a “cop” and that Becker should extend some professional consideration.

          The conversation continued with Jason Wroblewski then identifying himself as a

          federal agent, and he attempted to intimidate and insult Michael Becker into removing

          the immobilization device without paying the fee.

      22. Shortly thereafter, Jason Wroblewski was joined by his brother John Wroblewski, who

          was also identified as being a DEA agent. Thereafter, they were joined by a third

          unidentified individual, who is also believed to be another DEA agent.

      23. During this period of time, the entire incident was witnessed by Corinne Mei, who was

          seated in the Broward Parking Solutions truck just a short distance away. It was

          during this time that Jason Wroblewski, John Wroblewski, Charlotte Wroblewski, and

          the third unidentified male continued to berate and threaten Michael Becker utilizing

          their positions with the federal government to intimidate Michael Becker.

      24. The fee for the immobilization of the vehicle was $65.00 and eventually paid by

          Charlotte Wroblewski pursuant to a credit card transaction.

      25. When the dispute finally settled with Charlotte Wroblewski paying the fee, Michael

          Becker left the scene and observed some of the individuals involved in the dispute

          return to a party on the beach, wherein apparent alcoholic beverages were being

          consumed.

      26. On or about August 22, 2016, a complaint was made by Charlotte Wroblewski to

          Broward County Environmental Licensing and Building Permitting Division




                                          Page 5 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 6 of 14



          concerning Michael Becker d/b/a Broward Parking Solutions and the booting of the

          Wroblewski vehicle.

      27. The complaint alleges that the vehicle was immobilized during the period of time that

          they were standing there, and that the engine was running. The complaint further

          alleged that Michael Becker placed the “boot” on Charlotte Wroblewski’s vehicle

          while she and her son were standing there, and then demanded $65.00 or the vehicle

          would be towed. The complaint was made individually by Charlotte Wroblewski. On

          or about February 24, 2017, Ms. Wroblewski was notified by Broward County that the

          complaint was being closed due to insufficient evidence.

      28. As a result of the complaint to Broward County, Michael Becker learned that he and

          Corinne Mei had been under surveillance as the result of an investigation conducted by

          Charlotte Wroblewski’s “sons.”

      29. Charlotte Wroblewski and her “sons” learned various personal information about

          Michael Becker and Corinne Mei, including their occupations, vehicles, tag numbers,

          etc.

      30. Michael Becker requested a “D.A.V.I.D. Report” from the State of Florida as to any

          inquiries concerning his driver’s license and that of Corinne Mei. It was determined

          that Jason and/or John Wroblewski, by and through their positions as agents of the

          United States Department of Justice, Drug Enforcement Administration, had

          conducted a fraud investigation and had requested driver’s license information. The

          search was done by an individual by the name of Lisa Ann Mastrangelo, believed to be

          an employee of the United States Department of Justice, and in all, conducted forty-

          one individual inquiries on Michael Becker, his vehicles, and Corinne Ann Mei.



                                           Page 6 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 7 of 14



      31. During the period of time that the inquiries were being done by Jason and/or John

          Wroblewski as agents of the United States Department of Justice, Drug Enforcement

          Administration, there was no known fraud investigation concerning Michael Becker

          and/or Corinne Ann Mei; instead, they were only being done by Jason and/or John

          Wroblewski for the benefit of their mother and as a result of the incident that had

          occurred at the Ever April Apartments on July 4, 2016.

      32. Michael Becker made a formal complaint to the United States Department of Justice,

          Drug Enforcement Administration concerning the activities of both John and Jason

          Wroblewski, who conducted an investigation. The United States Department of

          Justice, Drug Enforcement Administration has failed and/or refused to advise as to the

          outcome of that investigation and has denied requests, pursuant to the Federal

          Freedom of Information Act, to produce and/or reveal particulars or outcomes of the

          investigation.

                               COUNT I: 18 U.S.C. § 2721, et seq.
                          Violation of the Driver’s Privacy Protection Act
        (Against John Wroblewski and Jason Wroblewski, United States Department of Justice,
                                   Drug Enforcement Administration)


      33. Plaintiffs hereby reaffirm and re-allege the foregoing paragraphs as if fully set forth in

          this paragraph.

      34. Michael Becker and Corinne Ann Mei provided information to the Florida Department

          of Highway Safety and Motor Vehicles, including their home addresses, photographs,

          social security numbers, dates of birth, states of birth, detailed vehicles registration

          information and description, prior and current home and mailing addresses, emergency




                                            Page 7 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 8 of 14



          contacts and other private and highly-restricted personal information, in part, for the

          purposes of acquiring and using a Florida driver’s license.

      35. The Florida Department of Highway Safety and Motor Vehicles also maintained

          Becker’s and Mei’s driving record and that information is made available on the

          D.A.V.I.D. system.

      36. At no time did Becker or Mei provide their consent for any of the Defendant

          Individuals to obtain, disclose or use, or for the United States Department of Justice,

          Drug Enforcement Administration to disclose or allow Defendant Individuals to

          obtain, disclose or use their private information for anything but official law

          enforcement business.

      37. Intentionally obtaining, disclosing or using a driver’s license information without an

          authorized purpose is a violation of DPPA. The statute provides for criminal fines and

          civil penalties. 18 U.S.C. § § 2723, 2724.

      38. The DPPA provides relief for violations of a person’s protected interest in the privacy

          of their motor vehicle records and the identifying information contained therein.

      39. The Defendants, each of them, have invaded Becker’s and Mei’s legally protected

          interest under the DPPA.

      40. None of the Defendants’ activities fall within the DPPA’s permitted exceptions for

          procurement of Becker’s and/or Mei’s private information.

      41. By the actions described above, Jason and John Wroblewski as law enforcement

          personnel, were acting within the scope of their employment when they obtained

          and/or disclosed or used Becker’s and Mei’s personal information from the Driver and

          Vehicle Information Database for an impermissible purpose.



                                           Page 8 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 9 of 14



      42. The Individual Defendants knew or should have known that their actions related to

          Becker’s and Mei’s personal information were in violation of the DPPA.

      43. The United States Department of Justice, Drug Enforcement Administration knowingly

          authorized, directed, ratified, approved, acquiesced in, committed or participated in

          obtaining, disclosing or using both Becker’s and Mei’s private personal information by

          the Individual Defendants through its agent, Lisa Ann Mastrangelo.

      44. Becker and Mei have suffered harm because their private information has been

          obtained unlawfully. Becker and Mei suffered or will continue to suffer harm by

          virtue of the increased risks that their protected personal information is in the

          possession of law enforcement personnel who obtained it without legitimate purpose.

          This is precisely the harm that Congress sought to prevent by enacting the DPPA and

          its statutory remedies.

      45. The Individual Defendants John and Jason Wroblewski, as well as the United States

          Department of Justice, Drug Enforcement Administration each acted willfully and

          recklessly disregarding the law, thereby entitling Becker and Mei to punitive damages

          under the DPPA. 18 U.S.C. § 2724(b)(2). Plaintiffs are entitled to actual, punitive

          damages, reasonable attorney’s fees and other litigation costs reasonably incurred, and

          such other preliminary and equitable relief as the court determines to be appropriate.

          18 U.S.C. § 2724(b).

      46. In addition, under the DPPA, the Plaintiffs are entitled to a baseline liquidated

          damages award for at least $2,500.00 for each violation of the DPPA. 18 U.S.C. §

          2721(b)(1). The Plaintiffs need not prove actual damages to receive liquidated

          damages pursuant to this section.



                                           Page 9 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 10 of 14




                                   COUNT II: 42 U.S.C. § 1983
                                 Violation of Plaintiffs’ Civil Rights
         (Against John Wroblewski and Jason Wroblewski, United States Department of Justice,
                                   Drug Enforcement Administration)

       47. Plaintiffs hereby reallege and incorporate paragraphs 1 through 46 of this Complaint,

           as if fully set forth in this paragraph.

       48. At no time did the Plaintiffs behave in a manner that would provide any legal

           justification for their invasion of privacy.

       49. The DPPA establishes that obtaining an individual’s driver’s license information

           without a legitimate purpose constitutes an illegal search under the meaning of the

           Fourth Amendment to the Bill of Rights of the United States Constitution.

       50. The viewing of Becker’s and Mei’s personal information by Jason Wroblewski and

           John Wroblewski Individually and as agents of the United States Department of

           Justice, Drug Enforcement Administration was unauthorized, unjustified, and

           excessive, violates the laws of the State of Florida, the Fourth Amendment to the

           United States Constitution, and the laws of the United States.

       51. By the actions described above, Jason Wroblewski and John Wroblewski Individually

           and as agents of the United States Department of Justice, Drug Enforcement

           Administration, acting under color of law, violated and deprived Becker and Mei of

           their clearly established and well-settled civil rights to be free from an unconstitutional

           search.




                                             Page 10 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 11 of 14



       52. The acts of the United States Department of Justice, Drug Enforcement Administration

           personnel, acting under color of law, constituted an invasion or repeated invasions of

           Becker and Mei’s clearly established privacy rights, guaranteed by the Bill of rights of

           the Constitution of the United States of America, as well as the Fourth Amendment to

           the Constitution of the United States of America, and the laws of the United States,

           including the DPPA.

       53. The DPPA creates an individual right to privacy in a person’s driver’s license

           information, thereby prohibiting unauthorized accessing of all person’s information,

           including Becker’s and Mei’s personal information in the State of Florida Department

           of Highway Safety and Motor Vehicles data base.

       54. Jason Wroblewski Individually and John Wroblewski Individually, as well as agents of

           the United States Department of Justice, Drug Enforcement Administration, acting

           under color of law, knew or should have known that their actions violated and

           deprived Becker and Mei of their clearly established statutory rights under the DPPA.

       55. Both Jason and John Wroblewski Individually and as agents of the United States

           Department of Justice, Drug Enforcement Administration, were deliberately

           indifferent to Becker’s and Mei’s statutory and civil rights to be free from illegal

           searches, invasions of privacy and the unauthorized accessing of their private driver’s

           license information.

       56. As a direct and proximate result of the acts and omissions of the above-named

           individuals, Becker and Mei endured physical and mental suffering, and were

           damaged in an amount yet to be determined, but believed to be well in excess of One

           Million ($1,000,000.00) Dollars.



                                           Page 11 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 12 of 14



       57. Punitive damages are available against the Individual Defendant law enforcement

           personnel for their reckless and callous disregard for Becker’s and Mei’s rights and

           their intentional violations of the federal law, as well as a matter of federal common

           law, and, as such, are not subject to the pleading requirement for punitive damages.

       58. Plaintiffs are entitled to recovery of their costs, including reasonable attorney’s fees,

           pursuant to 42 U.S.C. § 1988.

                                      COUNT III: State Law Claim
                                       Tort of Invasion of Privacy
                                        (Against All Defendants)

       59. Plaintiffs hereby reallege and incorporate paragraphs 1 through 58 of this Complaint,

           as if fully set forth in this paragraph.

       60. By improperly obtaining Becker’s and Mei’s private personal information for

           impermissible reasons, the Defendants intentionally intruded upon the solitude or

           seclusion of both Becker’s and Mei’s private affairs and concerns.

       61. The Defendants’ intrusion into the lives of Becker and Mei would be highly offensive

           to a reasonable person.

       62. The Defendants’ intrusion caused Becker and Mei to suffer severe emotional distress

           and physical harm.

       63. the Defendants’ intrusion was intended to cause Becker and Mei to suffer severe

           emotional distress and physical harm, and was made with either actual or legal malice,

           or with reckless disregard of their rights and privacy.

       64. The Plaintiffs are entitled to tort damages for Defendants’ invasion of privacy.




                                             Page 12 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 13 of 14



                                         COUNT IV: Defamation
                                       (Against Charlotte Wroblewski)

       65. Plaintiffs hereby reallege and incorporate paragraphs 1 through 64 of this Complaint,

            as if fully set forth in this paragraph.

       66. On or about August 22, 2016, the Defendant Charlotte Wroblewski, filed a complaint

            with Broward County, Florida in a letter form setting forth certain allegations with the

            intention of affecting the livelihood of Michael Becker and Corinne Mei.

       67. When Charlotte Wroblewski made the complaint with Broward County, she knew that

            most of the allegations contained therein concerning the conduct of Michael Becker

            and Corinne Mei were false and were done so for the purpose of substantiating her

            complaint.

       68. Charlotte Wroblewski knew or had reckless disregard as to the truth of the matter; or in

            the alternative, was negligent in proffering allegations that she was not aware of but

            were alleged by her sons.

       69. As a result of the defamatory remarks of Charlotte Wroblewski, Becker and Mei have

            been damaged and have suffered emotional and monetary damages, which are the

            direct and proximate result of the defamatory allegations by Charlotte Wroblewski.

                                               JURY DEMAND

       70. Plaintiffs demand a jury trial as to all issues of fact herein properly triable by a jury.

       WHEREFORE, the Plaintiffs Michael Becker and Corinne Mei pray for judgment against

            the

       Defendants as follows:

            A. A monetary judgment against all Defendants for liquidated, actual and

                  compensatory damages in an amount in excess of One Million Dollars

                                              Page 13 of 14
Case 0:18-cv-60146-WPD Document 1 Entered on FLSD Docket 01/23/2018 Page 14 of 14



                ($1,000,000.00) and punitive damages in an amount to be determined by a jury,

                together with their costs, including reasonable attorney’s fees, under 42 U.S.C. §

                1988, the DPPA, and other applicable laws, as well as prejudgment interest;

           B. Actual damages, punitive damages, attorney’s fees and other litigation costs and

               other preliminary and equitable relief as the court determines to be appropriate

               under 18 § U.S.C. 2724(b);

           C. Liquidated damages of at least $2,500.00 for each violation of the DPPA under 18

               U.S.C. § 2721(b)(1).

           D. An injunction, permanently enjoining all Defendants from viewing Plaintiffs’

               private information in violation of the DPPA, unless necessary for law

               enforcement purposes;

           E. A permanent injunction, barring Defendant Individuals from trespassing or

               instructing proxies to trespass on Plaintiffs’ property or conduct unlawful

               surveillance or otherwise harass Plaintiffs or infringe in any way on their privacy

               and their right to be free from any invasion of privacy;

           F. For such other and further relief as this Court deems just and equitable.

     Dated: January 18, 2018

     Respectfully submitted,

     BY: /s/ Bruce H. Little
     BRUCE H. LITTLE, ESQUIRE
     Florida Bar No.: 284580
     BRUCE H. LITTLE, P.A.
     645 SE 5th Terrace
     Fort Lauderdale, FL 33301
     Telephone: 954-523-3299
     Email: Bruce@BruceHLittle.com

     Attorney for Plaintiffs

                                            Page 14 of 14
